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                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                   DELRIO
                                   DEL RIO DIVISION


UNITED STATES OF AMERICA                         §
                                                 §     CRIMINAL NO:
vs.                                              §     DR:21-CR-00285(1)-AM
                                                 §
 1 SARAI LONGORIA RIVAS                          §

                       ORDER RESETTING SENTENCING


       IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                          reset for
SENTENCING in Courtroom 1, on the 2nd floor, U.S. Courthouse, 111 E. Broadway, Del Rio,
TX, on Thursday, February 09, 2023 at 10:40 AM.

        IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT                         2nd day of December, 2021.




                                                 Alia Moses
                                                 UNITED STATES DISTRICT JUDGE
